Case 2:04-cr-20439-SH|\/| Document 31 Filed 04/21/05 Page 1 of 2 Page|D 32

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

UNITED STATES OF AMERICA, ° ` f ,qj?
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Plaim;iff, ¢/»~¢=?/-0 sigqu
vs. Cr. No. 04~20439-Ma
LONNIE DAVIS,

Defendant.

 

ORDER RESERVING THE RIGHT TO APPEAL
DENIAL OF DEFENDANT'S MOTION TO PLEAD NOLO CONTENDERE

 

THIS CAUSE came before this Court upon the petition of the
defendant to be permitted to enter a conditional plea of guilty to
the indictment.

The United.States, through.its representative Assistant United
States Attorney Camille MCMullen, has agreed that Mr. Davis shall
be allowed, to preserve, pursuant to Federal Rule of Criminal
Procedure ll(a)(2), for purposes of appeal, the Court’s denial of

defendant’s offer to plead nolo contendere to the above charge.

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DATE UNITED STATES DISTRICT COURT JUDGE

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:04-CR-20439 Was distributed by faX, mail, or direct printing on
April 29, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

